

Schwartz v Schwartz (2025 NY Slip Op 02699)





Schwartz v Schwartz


2025 NY Slip Op 02699


Decided on May 2, 2025


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on May 2, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CURRAN, J.P., BANNISTER, SMITH, DELCONTE, AND HANNAH, JJ.


335 CA 24-01241

[*1]MELINDA SCHWARTZ, PLAINTIFF-RESPONDENT,
vDANIEL A. SCHWARTZ, DEFENDANT-APPELLANT. (APPEAL NO. 3.) 






BENNETT SCHECHTER ARCURI &amp; WILL LLP, BUFFALO (PAUL A. VANCE OF COUNSEL), FOR DEFENDANT-APPELLANT. 
RUPP PFALZGRAF LLC, BUFFALO (MICHAEL J. COLLETTA OF COUNSEL), FOR PLAINTIFF-RESPONDENT.
PETER P. VASILION, WILLIAMSVILLE, ATTORNEY FOR THE CHILD.
MELISSA A. CAVAGNARO, BUFFALO, ATTORNEY FOR THE CHILD. 


	Appeal from an order of the Supreme Court, Erie County (Catherine R. Nugent Panepinto, J.), entered February 7, 2024. The order, inter alia, directed an in camera review of certain documents and granted the cross-motion of plaintiff to quash certain subpoenas. 
It is hereby ORDERED that the order so appealed from insofar as it directed an in camera review of documents is dismissed, and the order is unanimously affirmed without costs.
Same memorandum as in Schwartz v Schwartz ([appeal No. 2] — AD3d — [May 2, 2025] [4th Dept 2025]).
Entered: May 2, 2025
Ann Dillon Flynn
Clerk of the Court








